In The Matter Of:
Fayetteville Public Library, et al v.

Crawford County, Arkansas, et al

County Judge Christopher Lee Keith
March 26, 2024
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Original File Judge Christopher Lee Keith.txt

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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a political
subdivision in the City of Fayetteville,

State of Arkansas; EUREKA SPRINGS CARNEGIE

PUBLIC LIBRARY; CENTRAL ARKANSAS LIBRARY

SYSTEM; NATE COULTER; OLIVIA FARRELL;

HAYDEN KIRBY;MIEL PARTAIN, in her own capacity

and as parent and next friend of MADELINE PARTAIN;
LETA CAPLINGER; ADAM WEBB;

ARKANSAS LIBRARY ASSOCIATION; ADVOCATES FOR

ALL ARKANSAS LIBRARIES; PEARL'S BOOKS, LLC;
WORDSWORTH COMMUNITY BOOKSTORE, LLC, d/b/a
WORDSWORTH BOOKS; AMERICAN BOOKSELLERS ASSOCIATION;
ASSOCIATION OF AMERICAN PUBLISHERS, INC.; AUTHORS
GUILD, INC.; COMIC BOOK LEGAL DEFENSE FUND

and FREEDOM TO READ FOUNDATION, PLAINTIFFS

vs. NO. 5:23-CV-05086-TLB

CRAWFORD COUNTY, ARKANSAS; CHRIS KEITH, in his
official capacity as Crawford County Judge;

TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;

MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA
HOWELL; BEN HALE; CONNIE MITCHELL; DAN TURNER;

JANA BRADFORD; FRANK SPAIN; TIM BLAIR; KYLE HUNTER;
DANIEL SHUE; JEFF ROGERS; DAVID ETHREDGE; TOM TATUM,
II; DREW SMITH; REBECCA REED MCCOY; MICHELLE C.
LAWRENCE; DEBRA BUSCHMAN; TONY ROGERS; NATHAN SMITH;
CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and CHUCK
GRAHAM, each and in his or her official capacity as a
prosecuting attorney for the State of Arkansas, DEFENDANTS

ORAL DEPOSITION
OF

JUDGE CHRISTOPHER LEE KEITH

*e¥*e*ee% THE ABOVE-STYLED MATTER was reported by Michelle R.
Satterfield, CCR, LS Certificate No. 570, at the Wahlmeier
Law Firm, located at 1101 Walnut, Van Buren, Arkansas,

commencing on the 26th day of March 2024, at 2:33 p.m.
kRkRKK

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INDE X
TOPIC

APPEARANCES

STIPULATIONS

WITNESS SWORN: Judge Christopher Lee Keith
Examination by Mr. Adams
Examination by Mr. Watson
Examination by Mr. McLelland
Further Examination by Mr. Adams
Further Examination by Mr. Watson
Further Examination by Mr. McLelland

WITNESS SIGNATURE PAGE

ERRATA SHEET

REPORTER'S CERTIFICATE

EXHIBITS

NUMBER DESCRIPTION

Exhibit 1 Copy of Act 372

Exhibit 5 Hamby Letter dated 11/10/22

Exhibit 8 Bates No. CrawfordCo_ 000068

Exhibit 9 Bates No. CrawfordCo 000067

Exhibit 10 Bates Nos. CrawfordCo 000023-000030
Exhibit 11 Bates Nos. CrawfordCo 000036-000039

(COPIES OF EXHIBITS SCANNED INTO ETRANSCRIPT)

PAGE

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71

BY MR. WATSON:
Q I just have a couple of questions following up.
Hopefully it will be very quick.
A Yes, sir.
Q First, I just want to quickly go back to yours and
Mr. Adams discussion of pornography in the library and
after that December meeting it was your understanding that
there might have been some materials that were
pornographic in the library.
A Yes, sir.
Q Did I understand you correctly that you weren't aware
of any specific book that met that description, though?
A No, sir, I was not.
Q Okay. Next, you and Mr. Adams talked a lot about
Exhibit 1, which is Act 372, and some of the specifics of
how that operates.

First of all, Judge Keith, are you a lawyer?
A No, sir.
Q So any of your comments on the operation of the Act
were you giving a legal opinion?
A No, sir.
Q With that caveat, I'm going to do the same thing that
I am sort of saying doesn't matter. So if you could pull
Exhibit 1 out and I just want to ask a couple of questions

about that.

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72

Okay.
So Page 7 is where I'm going to start.

Okay.

0 PrP OO P

So in your conversation with Mr. Adams, there was a
lot of focus on the word appropriateness, which is Line 18
on Page 7. It may not be a total surprise, since there's
a lawsuit, Mr. Adams and I have a slightly different
interpretation of how the statute works.

Since he took you through his interpretation, I just
want to take you through mine and see if that changes any
of your opinions.

A Okay.

Q So if we look at Subsection 8, it starts there on
Line 8, and I'll just read it. So each county or
municipal library shall have a written policy to establish
guidelines for the selection, relocation, and retention of
physical materials that are available to the public.

Did I read that correctly?

A Yes, sir.
Q Then if you will skip to Page 8. Once again, I'm
going to start on Line 10. In between what I just read

and Line 10, though, tell me if this characterization is
correct. If a person comes and challenges a book, the
appropriateness, then it goes eventually to a library

committee who will review that and then make a

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73

determination.

Is that more or less how you understand that?
A Yes, sir.
Q So starting at Line 10 on Page 8, it says that that
committee established under subdivision (c) (6) (A) of this
section shall determine if the material being challenged
meets the criteria of selection.

Do you see any other basis that the committee is
allowed to make its decision on, other than the criteria
of selection that the library established?

A No, sir.

MS. BROWNSTEIN: I object to the form. I
mean, obviously it's not as you stated.

MR. MCLELLAND: What was the question on
the table? I knew you objected.

MR. WATSON: So the question was do you
see, in the Act, any other basis for the
committee -- the library committee to, you know,
place a book, move a book from the general
circulation to what is later described as an
area prohibited from access for minors?

MS. BROWNSTEIN: I object to form. On the
other -- any other basis other than what?

BY MR. WATSON:

Q Other than the criteria of selection in Line 10

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74

through 12 on Page 8.

A Are you waiting on me?

Q I think so.

A So what was the question?

Q So are there any other reasons that this library

committee may move a material, other than what's in Lines
10 through 12, being that the challenged material meets
the criteria of selection that was established, as we just

read, by the libraries in Subsection A?

A No, sir.
Q Okay. So then on Page 9, Line 8, this is (12) (A).
This is the provision -- and I'll give you a moment to

read over that, but that's the part that there's an appeal
up to the Quorum Court.

A Okay.

Q Based on what we just discussed, what do you think
the basis of the review of the Quorum Court would be?

A Well, I think it should be based on the same things,
the criteria of selection.

Q So you don't think the Quorum Court could just
change, essentially, everything that happened before in
the process and go a totally different way?

A No.

Q And then my last question, you know, a lot of the

factual issues that we talked about with Ms. Grzymala and

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75
the competing factions and all of that, did that predate
Act 372?

A Yes.
Q And this morning when we were deposing Ms. White, I
asked her if she thought all of these issues were
unrelated to Act 372 and she said yes.
Do you agree with that?
A I do agree with that.
Q That's all I have. Thank you.
MR. MCLELLAND: I need a break and then
I'll ask my questions.
(Brief recess was taken.)
EXAMINATION
BY MR. MCLELLAND:
Q Judge Keith, I've got a couple of follow-up questions

and then that may prompt some questions from the other
attorneys and then we're going to go round-robin until we
run out of questions.
A Okay.
Q I'm going to start back kind of towards the beginning
of you and Mr. Adams' conversation.

Is the Crawford County Quorum Court responsible for
implementing library policy?
A No, sir.

Q Okay. In the creation of the Social Section, who

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76

selected the books that were moved to the Social Section?
A Deidre Grzymala, which was the Library Director at
the time.

Q Are you aware whether she made that -- or do you know
if she made those determinations for those books based
upon Act 372?

A No, she did not.

Q She did not?

A She did not.

Q Act 372 wasn't a factor in her decision?

A Correct.

Q Do you remember discussing the severance agreement

with Mr. Adams earlier that dealt with Deidre?

A Yes.
Q Okay. Were you aware that at the time that
Deidre's -- were you aware that she was represented by an

attorney in those negotiations?

A Yes.

Q And did you participate in any of those negotiations
individually?

A No.

Q Okay. Are you aware that in this case -- well,
you're aware in this case that you filed -- or your

attorneys filed an Affidavit on your behalf that stated

that Crawford County would implement Act 372.

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100
CERTIFICATE

STATE OF ARKANSAS
COUNTY OF FAULKNER
RE: ORAL DEPOSITION OF JUDGE CHRISTOPHER LEE KEITH

I, Michelle R. Satterfield, CCR, a Notary Public in and
for Faulkner County, Arkansas, do hereby certify that the
transcript of the foregoing deposition accurately reflects
the testimony given; and that the foregoing was
transcribed by me, or under my supervision, on my Eclipse
computerized transcription system from my machine
shorthand notes taken at the time and place set out on the
caption hereto, the witness having been duly cautioned and
sworn, or affirmed, to tell the truth, the whole truth and
nothing but the truth.

I FURTHER CERTIFY that I am neither counsel for, related
to, nor employed by any of the parties to the action in
which this proceeding was taken; and, further that I am
not a relative or employee of any attorney or counsel
employed by the parties hereto, nor financially
interested, or otherwise, in the outcome of this action.
In accordance with the Arkansas Rules of Civil Procedure,
Rule 30(e), review of the foregoing transcript by the
witness was not requested by the deponent or any party
thereto.

GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 31st
day of March 2024.

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Michelle R. Satterfield, CCR
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Notary Public in and for
Faulkner County, Arkansas

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